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                                                            U.S. DISTRICT COURT – N.D. OF N.Y.

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                                                                 Jul 06 - 2022

                                                                 John M. Domurad, Clerk

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